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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:05-cr-00240
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
ANTHONY ARTURO BRAVO,               )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 4, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Anthony Arturo Bravo entered a plea of guilty to a Felony Information, charging

defendant with conspiracy to distribute and possess with intent to distribute 500 grams or more of

cocaine, five grams or more of cocaine base, and a quantity of methamphetamine in violation of 21

U.S.C. §§ 846, 841(a)(1) and (b)(1)(B)(ii), (iii), and (C), in exchange for the undertakings made by

the government in the written plea agreement. On the basis of the record made at the hearing, I find

that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Felony Information be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge. The clerk is directed to procure a transcript of the plea hearing for review by the District

Judge.



Date: May 16, 2006                                      /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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